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                    UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           :
                                                   :
v.                                                 :       Criminal Case No. 22-cr-15 (APM)
                                                   :
KENNETH HARRELSON                                  :        Previously Included in
                                                   :
                                   Defendant       :      Case No. 21-cr-28 (APM)
                                                   :

                       SENTENCING MEMORANDUM REPLY


     I.     Harrelson’s Health



            Harrelson arrived in DC Corrections with normal blood work, but the diet there is

     high in starch and extremely low on protein. While in DC, he never had a protein source

     that wasn’t soy. His blood work has reflected this with increasing blood glucose levels,

     increasing A1c, AST and ALT suggesting pre-diabetes and that he may have sustained

     organ damage. Attachment A.

            Harrelson arrived in Lewisburg Prison on March 13, 2023, where BOP provided

     expert nutrition, kind treatment and humane conditions and his health quickly improved.

     However, on March 20, 2023, BOP drew blood that suggests the poor diet he received in

     DC Corrections may have pushed him to untreated type II diabetes and undersigned

     counsel would request the Court request that the BOP conduct a full medical evaluation

     and provide him with proper medications.




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       II.     Request for Assignment to Facilities Near the Defendant’s Home

               Defendant Harrelson respectfully requests, if appropriate, that the Court consider

       requesting that the Bureau of Prisons assign him to a facility near the family home. Since

       his arrest, Harrelson has been prohibited from Zoom visits so he has not seen the faces or

       communicated “face to face” with his children since his arrest.

               For the Court’s information the closest facility to the Defendant’s home is Cole-

       man Prison at 846 NE 54th Ter, Coleman, FL 33521 and the next closest facility is FPC

       110 Raby Ave. Pensacola, FL 325509.



       III.    The Guidelines Enhancements Should Not Apply (Supplement)

       The “administration of justice” enhancements should not apply
             The §2J1.2(b)(1)(B) enhancement does not apply

       The 8-level enhancement under 2J1.2(b)(1)(B) should not apply because the Oath Keepers’

relevant conduct did not involve causing or threatening property damage or physical injury. Alt-

hough there were several injuries to police and millions of dollars in property damage that day, not

all January 6 defendants are personally responsible—this enhancement does not apply to everyone.

Rather, it applies to those January 6 defendants who personally took part in or encouraged property

damage or injuries. The government’s arguments for including property damage and injuries in

these defendants’ relevant offense conduct do not hold water.

       First, the government generally asserts that these defendants “were part of a mob of rioters

that caused injuries to Capitol Police officers” and damaged Capitol “doors.” Gov. Mem. 33–34.

But since the Oath Keepers generally stood by and only entered when the doors were opened from

the inside, the conduct of this “mob” is not part of the Oath Keepers’ jointly-undertaken criminal

activity. Next, the government points out that some of the Oath Keepers, including Watkins and



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Minuta, “pushed against a line of MPD riot officers” in the Rotunda. Id. at 34. But no officer

testified that any of the brief periods of pushing by Oath Keepers in the Rotunda caused any inju-

ries. The government claims that “Officer Owens and Officer Jackson both testified to the physical

injuries they and their fellow officers suffered during this encounter.” Id. (emphasis added). But

on the contrary, no testimony about injuries is cited for Officer Jackson; and Officer Owens’s

testimony was that at the end of the entire day, his “arms and legs were bruised and bloodied and

battered.” Id.1 This includes encounters where rioters were “punching, kicking, swinging flagpoles

and two-by-fours.” 10/26/22AM Tr. at 5451. There is thus no evidentiary basis for concluding that

it was the relatively short period where Watkins and other Oath Keepers pushed against the police

line that caused the bruising and bloodying on Officer Owens’s arms and legs. See also Gov. Mem.

34–35 (including no injuries in quotations regarding Minuta pushing on officers).

        Next, the government resorts to claiming that general chants of “Treason” by “Harrelson

and Dolan,” were “threatening and intimidating.” Id. at 35. Assuming that was true, Congress had

already been evacuated by the time the Oath Keepers entered, so there were no lawmakers around

to feel threatened and no obstruction to be achieved through such “threats,” as the adjustment

requires. This is a far cry from the case cited by the government, United States v. Rubenacker, No.

21-cr-193 (May 26, 2022), Sent. Tr. at 58, where the “defendant’s yelling and taunting at the of-

ficers . . . in an agitated manner with his finger outstretched was threatening conduct, regardless

of what he precisely said and whether those words contained threats of physical injury to those

officers.”




1
 10/26/22AM Tr. at 5453 (“Q. And what time did you ultimately leave the United States Capitol?
A. Around 8:00 or 9:00 p.m. that evening. Q Did you suffer any physical injuries that day? A. Yes,
ma’am. My arms and legs were bruised and bloodied and battered. Other than that, I didn’t have
any significant injuries from that day.”)


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       Finally, the government claims that “Vallejo and Caldwell managed an arsenal of firearms

at a hotel in Virginia as part of an armed Quick Reaction Force to support the other conspirators

on the ground at the Capitol building.” Gov. Mem. 35–36. Putting aside the patent falsity of this

claim that the QRF was intended to support an attack on the Capitol—which numerous witnesses

and multiple documents contradict—merely having weapons on standby in Virginia does not qual-

ify as “threatening to cause physical injury to a person…in order to obstruct the administration of

justice,” §2J1.2(b)(1)(B), where no such firearms were ever brandished to achieve that result.2

               The 2J1.2(b)(2) adjustment for substantial interference does not apply

       Like the injury and property damage adjustment, Section 2J1.2(b)(2) does not apply to

every January 6 defendant. It only applies if the relevant conduct of these defendants resulted in

the “unnecessary expenditure of substantial governmental or court resources.” Id. This is an indi-

vidual, not a collective, question. Vallejo does not contest that “[t]he events of January 6” as a

whole resulted in substantial expenditures, including “damages…[to] the U.S. Capitol totaling

more than $2.8 million.” Gov’t Mem. at 38. But there is no genuine dispute that the Oath Keepers

did not personally take part in any property damage. Likewise, “the evacuation of hundreds of

lawmakers and the suspension of the certification proceedings,” id., was not caused by these de-

fendants, but by initial breachers who apparently acted in accordance with a preestablished plan.3


2
  The government cites interstate threat cases to argue that threats need not be communicated di-
rectly to a victim; but sending a threat through the wires—where the threat itself is the crime—is
completely different than threatening a victim with firearms in order to obstruct justice. Clearly, if
no Oath Keeper told any officer about weapons stashed in Virginia in order to make them leave
their post, their mere existence does not constitute a threat under this provision. For the same
reason, the government’s reliance on Reffitt, No. 21-cr-32 (Aug. 1, 2022), Sent. Tr. at 20-21, is
misplaced. In Reffitt, the defendant had a firearm on his person, creating a present and credible
threat to those he encountered when combined with threatening words.
3
  The government attempts to justify the defendants’ personal responsibility for the substantial
expenditure of resources by arguing that “[d]efendants…were unlawfully on the Capitol grounds



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Nor did these defendants “substantial[ly]” delay the reentry of Congress. §2J1.2(b)(2). None were

in the building for more than 12 to 20 minutes, they exited without significant resistance, and they

were far from the last to remain in the building. Simply put, this enhancement should be reserved

for defendants who conduct was most responsible for the expense of January 6 either because they

acted first, delayed things the longest, or contributed to particular damage. The Oath Keepers did

none of those things.




Dated: May 15, 2023            RESPECTFULLY SUBMITTED
                                    KENNETH HARRELSON, By Counsel

                                       /s/ Brad Geyer

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before the Senate went into emergency recess at 2:13 p.m., and…before the House went into emer-
gency recess at 2:29 p.m.” Gov. Mem. 39. But the testimony of Congressional staff established
that it was the presence of rioters “in the building,” id., that required the recesses. See 10/26/22AM
Tr. at 5428–29 (Hawa); 1/6/23AM Tr. at 3315–18, 3352-55 (Fleet).


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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 15, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

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